
ROBERT L. BLAND, Judge.
The above claim was filed with the clerk of this court on September 1, 1942.
The petition alleges that claimant is the mother and natural guardian of one Jack Marsh, an infant of the age of approximately seventeen years, and that said Jack Marsh was seriously and permanently injured on the fourth day of September 1941, on a public highway of Brooke county, known as the Follansbee-Eldersville road, while being transported in a school bus operated by one Henry Clemens, an employee of and bus driver for the board of education of Brooke county, West Virginia, from the school at Follansbee to his home, where he resided with claimant, his mother. It is charged that such injuries resulted from the negligent operation of said school bus, and that claimant has been forced and obliged to expend, pay out and become obligated for the expenses of *225hospital, surgical and medical treatment and attendance of her said son, and as well also for medicines and other expenses made necessary thereby, and that by reason of said injuries claimant has been deprived and is reasonably certain to be deprived in the future of the services, normal company and society of the said Jack Marsh.
Claimant charges that the board of education of the county of Brooke is an agency of the state of West Virginia, and that her claim is one whioh the state, as a sovereign commonwealth, should, in equity'and in good conscience discharge and pay.
Claimant therefore seeks to maintain her claim against the state in the sum of $10,000.00.
A majority of the court determined that the court is without prima facie jurisdiction to entertain said claim, declined to docket the same for hearing and dismissed it. Before an opinion had been prepared setting forth the reasons for such action on the part of majority members of the court a petition for rehearing was filed, and a very able argument was made before the court in support of said petition. Majority members of the court now find that the petition for rehearing shows no reason warranting a change of their original opinion that the court is without prima facie jurisdiction to entertain the claim. The claim is not one against an administrative agency of the state government. The case is controlled by the majority decision announced in the cases of Jess E. Miller v. The Board of Education of Lewis County, 1 Ct. Claims (W. Va.) 205, and Mary Dillon v. The Board of Education of Summers County, 1 Ct. Claims (W. Va.) 366.
A rehearing is denied.
